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                                                                               2018 Nov-09 PM 01:41
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

SUSAN ISMAIL                                )
                                            )
      Plaintiff,                            )
                                            )
v.                                          )      CIVIL ACTION NUMBER:
                                            )      JURY TRIAL DEMANDED
PHILLIPS & COHEN, ASSOCIATES,               )
LTD.; CITIBANK N.A.;                        )
                                            )
      Defendants.                           )


                                 COMPLAINT


      This is an action brought by the Plaintiff, SUSAN ISMAIL, for actual and

statutory damages, attorney’s fees, and costs for Defendant Phillips & Cohen

Associates, LTD’s violations of the Fair Debt Collection Practices Act, 15 U.S.C.

§ 1692 et seq. (hereinafter “FDCPA”). Plaintiff also seeks compensatory and

punitive damages for the Defendants’ violations of Alabama’s common laws set

forth herein.

                        JURISDICTION AND VENUE

      This Court has jurisdiction under 15 U.S.C. §1692k (d), and 28 U.S.C.

§1331, §1332, and §1367. Venue is proper in that at all relevant times the


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Defendants transacted business here, and the Plaintiff resides here.

                         STATEMENT OF THE PARTIES

      1.       Plaintiff, SUSAN ISMAIL, is over the age of nineteen (19) years and

               is a resident of the city of Homewood in Jefferson County, Alabama.

               Plaintiff is a “consumer” as defined in the Fair Debt Collection

               Practices Act (“FDCPA”).

      2.       Defendant Phillips & Cohen Associates, LTD, (hereinafter “PCA”) is

               and at all times pertinent herein was, a foreign corporation or other

               legal entity organized under the laws of the State of New Jersey with

               its principal place of business in Wilmington, Delaware. PCA was, at

               all relevant times herein, conducting business in this District.

      3.       Defendant Citibank, N.A., (hereinafter “Citibank”) is a national bank

               or other legal entity that has a principal place of business in Sioux

               Falls, South Dakota. Citibank, at all times pertinent herein, was

               conducting business in this District.

      4.       PCA is engaged in the business of collecting debts owed to others and

               incurred for personal, family or household purposes. PCA uses the

               mails and telephone in and about its efforts to collect debt.

      5.       PCA is a debt collector as that term is defined by the Fair Debt

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         Collection Practices Act at 15 U.S.C. §1692(a)(6).

6.       All events herein occurred in Jefferson County, Alabama.

                         STATEMENT OF FACTS

                                   Background

7.       Plaintiff Susan Ismail’s husband, Fekry Ismail, passed away on

         September 12, 2017.

8.       On or about October 26, 2017, Plaintiff, through an attorney,

         probated her late husband’s will in the Probate Court of Jefferson

         County, Alabama and was appointed Personal Representative of the

         Estate and was granted Letters Testamentary to administer the Estate.

9.       The Estate’s Notice to Creditors was published in the Alabama

         Messenger on October 28, 2017, November 4, 2017 and November

         11, 2017. The relevant statutory time period for making claims

         against the Estate expired on April 26, 2018, before the events made

         the basis of this suit.

10.      At some time prior to September 19, 2018, Citibank placed a debt

         allegedly owed by the late Mr. Ismail to Citbank with PCA for

         collection.




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          September 19, 2018 letter from PCA to Plaintiff

11.   On or about September 19, 2018, after the time period for making

      claims against the Estate expired, PCA sent or caused to be sent a

      letter to Plaintiff at her home. The letter was addressed to “The

      Estate of Fekry H. Ismail.”

12.   The September 19, 2018 letter sought to locate “the Executor,

      administrator, or individual who is authorized to pay the outstanding

      bills of the late FEKRY H. ISMAIL from assets of the estate.”

      October 9, 2018 letter from Plaintiff’s attorney to PCA

13.   In response to the September 19, 2018 letter, Plaintiff’s attorney sent

      a letter to PCA via facsimile and regular mail. This letter was sent on

      Plaintiff’s attorney’s letterhead.

14.   That letter stated that the sender represented Plaintiff, that Plaintiff

      was in receipt of the September 19, 2018 letter, that the Estate was

      opened but that the time for creditors to file claims had expired and

      further instructed PCA not to contact Plaintiff again but, rather, to

      direct any and all future communications to Plaintiff’s counsel.

           October 16, 2018 letter from PCA to Plaintiff

15.   Despite receiving the October 9, 2018 letter from Plaintiff’s attorney,

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        and being informed that the statutory time frame for filing claims

        against the Estate had passed, PCA sent a second letter to Plaintiff at

        her home that was addressed “To the Executor/Administrator of the

        Estate of: Fekry Ismail” on or about October 16, 2018.

  16.   The October 16, 2018 letter sought to collect an alleged debt owed by

        the late Fekry Ismail to Citibank, N.A.

                         CAUSES OF ACTION

                      COUNT ONE
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                  15 U.S.C. § 1692 et seq.


  17.   Plaintiff incorporates by reference all of the above paragraphs of this

        Complaint as though fully stated herein.

  18.   The foregoing acts and omissions of Defendant PCA and its

        employees and agents constitute numerous and multiple violations of

        the FDCPA, 15 U.S.C. § 1692 et seq., with respect to Plaintiff,

        including but not limited to, § 1692c(a)(2) and § 1692e(2).

  19.   As a direct and proximate result of the wrongful conduct visited upon

        Plaintiff by Defendant in its collection efforts, Plaintiff suffered

        actual damages including, but not limited to, worry, stress, anxiety,


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      embarrassment, physical pain, mental anguish and emotional distress.

20.   As a result of Defendant’s violations of the FDCPA, Plaintiff is

      entitled to actual damages in an amount to be determined by a struck

      jury pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an

      amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,

      reasonable attorney’s fees and costs pursuant to 15 U.S.C. §

      1692k(a)(3), from Defendant.

                             COUNT TWO
                             NEGLIGENCE


21    Plaintiff incorporates by reference all of the above paragraphs of this

      Complaint as though fully stated herein.

22.   The Defendants knew or should have known of the conduct set forth

      herein which was directed at and visited upon Plaintiff.

23.   The Defendants knew or should have known that said conduct was

      improper and violated the law.

24.   The Defendants negligently failed to train and/or negligently failed to

      supervise their employees or agents in order to prevent said improper

      and illegal conduct.

25.   Defendant PCA negligently failed to train and supervise its collectors

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      with regard to the requirements and prohibitions of the FDCPA.

26.   Defendant Citibank negligently placed this debt for collection when it

      knew or reasonably could have ascertained that the claims period for

      making claims against Plaintiff’s late husband’s Estate had expired.

27.   As a result of Defendants’ negligence, Plaintiff suffered harm.

                          COUNT THREE
                          WANTONNESS


28.   Plaintiff incorporates by reference all of the above paragraphs of this

      Complaint as though fully stated herein.

29.   The Defendants knew or should have known of the conduct set forth

      herein which was directed at and visited upon Plaintiff.

30.   The Defendants knew or should have known that said conduct was

      improper and violated the law.

31.   The Defendants recklessly and wantonly failed to train and/or

      recklessly and wantonly failed to supervise their employees or agents

      in order to prevent said improper and illegal conduct.

32.   Defendant PCA recklessly and wantonly failed to train and supervise

      its collectors with regard to the requirements and prohibitions of the

      FDCPA.

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33.   Defendant Citibank recklessly and wantonly placed the debt of

      Plaintiff’s deceased spouse for collection when it knew or should

      have known that the debt was no longer collectible given that the time

      period for filing claims against Plaintiff’s late husband’s Estate

      expired.

34.   As a result of Defendants’ reckless and wanton conduct, Plaintiff

      suffered harm including but not limited to worry, embarrassment,

      humiliation, anxiety and mental anguish among other personal

      injuries.

                   Respondeat Superior Liability

35.   At all times relevant herein, Defendant PCA and its employees and

      agents acted as the agent of Defendants Citibank, N.A. The acts and

      omissions of Defendant PCA and its employees and agents were

      committed within the scope of PCA’s agency relationship with Citibank,

      N.A.

36.   The acts and omissions by PCA and its employees and agents were

      incidental to, or of the same general nature as, the responsibilities PCA

      was authorized to perform by Defendant Citibank, N.A. in the collection

      of consumer debts such as the consumer debts allegedly owed by the

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      Plaintiff’s late husband.

37.   By committing these acts and omissions against the Plaintiff, Defendant

      PCA’s agents and employees were motivated to benefit PCA’s principal,

      Defendant Citibank, N.A.

38.   Defendant Citibank, N.A. is therefore liable to Plaintiff through the

      Doctrine of Respondeat Superior for the intentional and negligent acts,

      errors, and omissions done in violation of state and federal law by its

      agent, PCA, in and about PCA’s attempts to collect the alleged debt

      from the estate.

      WHEREFORE, PREMISES CONSIDERED, Plaintiff claims

damages of the Defendants, jointly and severally, in both compensatory and

punitive damages, plus interest, costs, reasonable attorney’s fees and any

such other and further relief as this court deems proper and/or necessary.

      In addition to the above, Plaintiff further demands declaratory

judgment that Defendant PCA’s conduct violated the FDCPA, statutory

damages in the amount of $1,000.00 for the violations of the FDCPA

pursuant to 15 U.S.C. § 1692k and costs and reasonable attorneys’ fees from

PCA for its violations of the FDCPA pursuant to 15 U.S.C. § 1692k.




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       PLAINTIFF DEMANDS A TRIAL BY STRUCK JURY



                                  /s/ W. Whitney Seals
                                  W. WHITNEY SEALS,
                                  Attorney for Plaintiff

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                                  /s/ John C. Hubbard
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PLEASE SERVE THE DEFENDANTS BY CERTIFIED MAIL,
RETURN RECEIPT REQUESTED TO THE FOLLOWING
ADDRESSES:

Phillips & Cohen Associates, LTD
c/o Registered Agent
C T Corporation System
2 North Jackson Street, Suite 605
Montgomery, AL 36104

Citibank, N.A.
c/o Chief Executive Officer
Barbara Desoer
701 East 60th Street North
Sioux Falls, S.D. 57104




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